     Case 1:18-md-02865-LAK    Document 361       Filed 06/23/20   Page 1 of 14




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


In re:
                                                          MASTER DOCKET
CUSTOMS AND TAX ADMINISTRATION OF
THE KINGDOM OF DENMARK                               Case No. 1:18-MD-02865-LAK
(SKATTEFORVALTNINGEN) TAX REFUND
SCHEME LITIGATION

This document relates to 1:18-CV-05053-LAK.




  THE GOLDSTEIN LAW GROUP PC 401(K) PROFIT SHARING PLAN’S AND
    SHELDON GOLDSTEIN’S REPLY IN FURTHER SUPPORT OF THEIR
          MOTION TO DISMISS AMENDED COUNTERCLAIM




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     Case 1:18-md-02865-LAK       Document 361     Filed 06/23/20   Page 2 of 14




                                TABLE OF CONTENTS


 TABLE OF CONTENTS                                                                  i

 TABLE OF AUTHORITIES                                                              ii

 I. ED&F Cannot Ignore the Governing Contracts and Relevant Pleadings               2

 II. The Goldstein Parties Need Not Indemnify Their Own Lawsuit Against ED&F
                                                                            4
A. The English Fee-Shifting Custom Does Not Save ED&F’s Counterclaim                4
B.     ED&F Cannot Be Indemnified for Its Own Negligence or Contract Breaches       5

 III. ED&F Cannot Pin the English Action on the Goldstein Parties                   6
     A. ED&F is Solely Responsible for Its English Action Liabilities               6
B. Any English Action Indemnification Claim is Unripe                               8

 CONCLUSION                                                                        10




                                            i
       Case 1:18-md-02865-LAK        Document 361      Filed 06/23/20    Page 3 of 14




                                TABLE OF AUTHORITIES

                                            CASES
Arkwright Mut. Ins. Co. v. Bojoirve, Inc., No. 93 Civ 3068 (WK), 1996 WL 361535 (S.D.N.Y.
  June 27, 1996) (Knapp, J.)                                                               3
Ashcroft v. Iqbal, 556 U.S. 662 (2009)                                                     3
Askey v. Golden Wine Co. Ltd. [1948] 2 All E.R. 35                                         5
Atl. Aviation Corp. v. Costas’ Estate, 332 F. Supp. 1002 (E.D.N.Y. 1971)                   6
Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007)                                            3
Blais Const. Co., Inc. v. Hanover Square Assocs., 733 F. Supp. 149 (N.D.N.Y. 1990)         9
Budinich v. Becton Dickinson & Co., 486 U.S. 196 (1988)                                    4
Capita (Banstead 2011) Ltd v. RFIB Grp. Ltd [2015] EWCA Civ 1310                           7
Certain Underwriters at Lloyd’s, London v. St. Joe Minerals Corp., 90 F.3d 671 (2d Cir.
  1996)                                                                                9, 10
Dresser-Rand Co. v. Ingersoll Rand Co., No. 14 Civ. 7222 KPF, 2015 WL 4254033 (S.D.N.Y.
  July 14, 2015) (Failla, J.)                                                              8
Falls Indus., Inc. v. Consol. Chem. Indus., Inc., 258 F.2d 277 (5th Cir. 1958)             9
In re Lehman Bros. Holdings Inc., 602 B.R. 564 (Bankr. S.D.N.Y. 2019) (Chapman, J.)     5, 6
Katz v. Berisford Int’l PLC, No. 96 Civ. 8695 (JGK), 2000 WL 959721 (S.D.N.Y. July 10,
  2000) (Koeltl, J.)                                                                       5
Lafarge Canada Inc. v. Am. Home Assurance Co., No. 15-CV-8957 (RA), 2018 WL 1634135
  (S.D.N.Y. Mar. 31, 2018) (Abrams, J.)                                                 8, 9
Mason Tenders Dist. Council Welfare Fund v. Thomsen Const. Co., 301 F.3d 50 (2d Cir.
  2002)                                                                                    2
O&G Indus., Inc. v. Nat’l R. R. Passenger Corp., 538 F.3d 153 (2d Cir. 2008)               4
Peter Fabrics, Inc. v. S.S. Hermes, 765 F.2d 306 (2d Cir. 1986)                            5
Salzman Sign Co. v. Beck, 10 N.Y.2d 63 (1961)                                              2
Too, Inc. v. Kohl’s Dep’t Stores, Inc., 213 F.R.D. 138 (S.D.N.Y. 2003) (Marrero, J.)    6, 7
U.S. Bank Nat. Ass’n v. Commonwealth Land Title Ins. Co., No. 13 Civ. 7626 NRB, 2015
  WL 1291151 (S.D.N.Y. Mar. 23, 2015) (Buchwald, J.)                                       5

                                            RULES
Supreme Court of the United Kingdom, The Supreme Court Rules 2009, 2009 No. 1603 (L.
  17), Part 7: Fees and Costs                                                       4

                                          TREATISES
20 Halsbury’s Laws of England § 359 (4th ed. reissued 1993)                               6
5 Corbin on Contracts § 1037 (1964)                                                       5
Chitty on Contracts § 16-146                                                              5




                                                ii
     Case 1:18-md-02865-LAK          Document 361           Filed 06/23/20   Page 4 of 14




       This Court should dismiss ED&F Man Capital Markets, Ltd’s (“ED&F”)

scattershot attempt to pin its own wide-ranging wrongdoing on pensioners like the

Goldstein Law Group PC 401(K) Profit Sharing Plan (the “Plan”) and Sheldon Goldstein

(with the Plan, the “Goldstein Parties”).

       ED&F does not address, and therefore concedes, most arguments advanced in the

Goldstein Parties’ Motion to Dismiss. 1 No law or logic could possibly require the

Goldstein Parties to “indemnify” ED&F for losing this lawsuit to the Goldstein Parties,

and pleading “indemnification” of hypothetical adverse judgments arising out of non-

existent proceedings states no claim at all, let alone a ripe one. 2 ED&F continues to insist,

however, that the Goldstein Parties must “indemnify” any losses it incurs in “any action

or proceeding” (a) “in this jurisdiction” or (b) “in the English Action.”

       But both the Contracts 3 and the law unequivocally prohibit ED&F from seeking

indemnification for its own wrongful conduct, and ED&F has failed to allege or otherwise

explain   how    an   adverse    judgment    in       the   English   Action—where    Plaintiff




1 The Amended Counterclaims of Third-Party Defendant ED&F Capital Markets, Ltd is

filed as Dkt. 323 and also is annexed as Exhibit 4 to the Declaration of Kari Parks in
Support of the Goldstein Parties’ Motion to Dismiss ED&F’s Amended Counterclaim
(“Parks Decl.”), Dkt. 350-5.
2 Compare generally Dkt. 357, Memorandum of Law in Opposition to Motions to Dismiss

Counterclaims (June 9, 2020) (“Opp.” or the “Opposition”) and Dkt. 342, The Goldstein
Parties’ Memorandum of Law in Support of their Motion to Dismiss Amended
Counterclaim at 29–30 (the “MTD” or the “Motion”).
3 The “Contracts” are those pleaded in ED&F’s Amended Counterclaims: (1) the Custody

Agreement annexed as Exhibit F to the Goldstein Parties’ Amended Third-Party
Complaint against ED&F (Dkt. 219-6) and as Exhibit A to the Declaration of Neil S. Binder
in Opposition to the Goldstein Parties’ MTD (Dkt. 358-1) and (2) the “T&C Contract”
annexed as Exhibit 2 to ED&F’s Amended Counterclaim (Dkt. 324-2).


                                                  1
     Case 1:18-md-02865-LAK        Document 361      Filed 06/23/20   Page 5 of 14




Skatteforvaltningen (“SKAT”) has accused ED&F of stealing millions in a “unified

scheme” that used American pension plans as fronts for its own self-dealing—could be

blamed on the Goldstein Parties. See MTD at 4 (citing Further Particulars, Schedule 5T).4

       Furthermore, ED&F fails to muster any authority supporting its claim against

Sheldon Goldstein, whom the Brokerage mentions exactly zero times in its Amended

Counterclaim, and who is not a party to either Contract. See Opp. at 23 n.37. Mr.

Goldstein’s execution of those Contracts “for and on behalf of” the Plan, see Custody

Agreement at 19, does not render him personally liable for either Contract. Cf., e.g.,

Mason Tenders Dist. Council Welfare Fund v. Thomsen Const. Co., 301 F.3d 50, 54 (2d

Cir. 2002) (holding that even a personal liability clause does not establish signatory’s

intent to be bound individually; “where individual responsibility is demanded[,] the

nearly universal practice is that the officer signs twice—once as an officer and again as

an individual.”) (quoting Salzman Sign Co. v. Beck, 10 N.Y.2d 63, 67 (1961)).

    I. ED&F Cannot Ignore the Governing Contracts and Relevant Pleadings

       Because ED&F pleads contractual indemnification of MDL and English Action

losses it may incur “in connection with” the Goldstein Parties, at least four documents

govern the Brokerage’s Amended Counterclaim: (1) the Custody Agreement, (2) the T&C

Contract, (3) the Goldstein Parties’ Amended Third-Party Complaint against ED&F (the



4
 See Parks Decl. Exhibit 2, Claimant’s Further Particulars Regarding the Validity of
WHT Refund Applications, Skatteforvaltningen v. Solo Capital Partners LLP et al., CL-
2018-000297, CL-2018-00404, CL-2018-000590 (Feb. 28, 2020) (the “Further Particulars”);
Parks Decl. Exhibit 3, Re-Amended Schedule 5T, Skatteforvaltningen v. Solo Capital
Partners LLP et al., CL-2018-000297, CL-2018-00404, CL-2018-000590 (Feb. 28, 2020)
(“Schedule 5T”).


                                             2
     Case 1:18-md-02865-LAK          Document 361       Filed 06/23/20     Page 6 of 14




“ATPC”), and (4) SKAT’s pleadings against ED&F in the English Action (with the ATPC,

the “Relevant Pleadings”). See, e.g., Arkwright Mut. Ins. Co. v. Bojoirve, Inc., No. 93 Civ

3068 (WK), 1996 WL 361535, at *2–3 (S.D.N.Y. June 27, 1996) (Knapp, J.) (to evaluate

motion to dismiss, court should read third-party claims “in conjunction with the original

pleadings, “particularly[] in a claim for contribution or indemnity where the allegations

are necessarily intertwined with those of the complaint.”) (citation omitted).

       Yet ED&F tells this Court that it must ignore the Relevant Pleadings. See, e.g., Opp.

at 2 (“[T]he Court should give no weight to any pleadings beyond ED&F’s own.”); 14 n.22

(“[T]he Third-Party Plaintiffs’ repeated invocation of their own pleadings in support of

their motions to dismiss is improper.”); but see id. at 2–3, 13–14 (purporting to summarize

MDL claims against ED&F); id. at 8–11 (purporting to summarize SKAT’s English Action

claims against ED&F); id. at 17–18 (arguing that the Third-Party Plaintiffs' motions “rest

on a fundamental misunderstanding of the claims asserted against ED&F”).

       ED&F should be careful what it wishes for. Standing alone, the Amended

Counterclaim merely recites contractual clauses and sprinkles in some factual allegations

of lawful activity; it does not state a claim. See, e.g., Ashcroft v. Iqbal, 556 U.S. 662, 696–

97 (2009) (holding that complaint does not state claim where it pleads nothing but “naked

legal conclusions” and factual allegations “consistent with legal conduct”) (citing Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 552 (2007)).




                                                3
     Case 1:18-md-02865-LAK          Document 361       Filed 06/23/20     Page 7 of 14




   II. The Goldstein Parties Need Not Indemnify Their Own Lawsuit Against ED&F

       ED&F does not dispute the Goldstein Parties’ own allegations comprise the only

MDL claims arising “in connection with” the Goldstein Plan. See generally Opp.

       A. The English Fee-Shifting Custom Does Not Save ED&F’s Counterclaim

       Tacitly recognizing that there is no universe in which the Goldstein Parties must

reimburse ED&F for costs arising out of its loss of this lawsuit to the Goldstein Parties,

ED&F now pivots, arguing that its Amended Counterclaim should survive because

English custom would award costs to ED&F if it defeats the Goldstein Parties in this MDL

or SKAT in the English Action. See Opp. at 18–19.

       But costs awarded pursuant to prevailing party provisions are mere remedies, not

substantive claims, and thus cannot sustain the Amended Counterclaim. See, e.g.,

Budinich v. Becton Dickinson & Co., 486 U.S. 196, 200 (1988) (holding that attorneys’ fees

awarded to prevailing party provisions are remedies, not claims, because they raise

“issues collateral to and separate from the decision on the merits”); cf., e.g., O&G Indus.,

Inc. v. Nat’l R. R. Passenger Corp., 538 F.3d 153, 168 (2d Cir. 2008) (“[W]e apply the

‘bright-line rule enunciated by the Supreme Court [ . . . ] ‘that a decision on the merits is[]

final [ . . . ] whether or not there remains for adjudication a request for attorney’s fees.”);

Supreme Court of the United Kingdom, The Supreme Court Rules 2009, 2009 No. 1603

(L. 17), Part 7: Fees and Costs (costs are to be determined by court after judgment).

       Moreover, while legal fees incurred in defending an indemnified claim fall within

an indemnification obligation, legal fees incurred to enforce an indemnification claim—

i.e., those that ED&F incurs in pursuing its Amended Counterclaim in this MDL—are not.


                                                4
     Case 1:18-md-02865-LAK         Document 361       Filed 06/23/20    Page 8 of 14




Compare Opp. at 18 (citing no authority to support argument that ED&F will be entitled

to indemnification “if it prevails against the Third-Party Plaintiffs here in the MDL”) and

Peter Fabrics, Inc. v. S.S. Hermes, 765 F.2d 306, 315–16 (2d Cir. 1986) (“[C]osts incurred in

suing for a breach of contract, to wit, the failure to indemnify” “are not by their nature a

part of the claim indemnified against”); accord 5 Corbin on Contracts § 1037 (1964).

       B. ED&F Cannot Be Indemnified for Its Own Negligence or Contract Breaches

       Ignoring the controlling Contracts and law, ED&F also argues that the Goldstein

Parties must “indemnify” ED&F if the Brokerage loses any “contract-based claims.” See

Opp. at 20–21. But a party that loses a contract claim “necessarily [has] participated in the

wrongdoing by breaching the contract” and therefore cannot seek indemnification. See

MTD at 31 (quoting U.S. Bank Nat. Ass’n v. Commonwealth Land Title Ins. Co., No. 13

Civ. 7626 NRB, 2015 WL 1291151, at *2 (S.D.N.Y. Mar. 23, 2015) (Buchwald, J.)).

       ED&F also completely ignores the fact that the Contracts expressly contemplate

that the Goldstein Parties may sue ED&F for “breach of duty,” “willful default,” “fraud,”

and “negligence.” Compare See Opp. at 20 (citing In re Lehman Bros. Holdings Inc., 602

B.R. 564, 590–91 (Bankr. S.D.N.Y. 2019) (Chapman, J.)) (arguing that the Goldstein Parties

must indemnify ED&F for any of its own wrongful conduct except “willful default”) and

MTD at 12, 24–29; see also, e.g., Katz v. Berisford Int’l PLC, No. 96 Civ. 8695 (JGK), 2000

WL 959721, at *4 (S.D.N.Y. July 10, 2000) (Koeltl, J.) (“Under English law, an indemnity

against the expenses and liabilities that result from the deliberate commission of a crime

or fraud generally may not be enforced by the wrongdoer”) (citing Askey v. Golden Wine

Co. Ltd. [1948] 2 All E.R. 35, 38H; Chitty on Contracts § 16-146 (28th ed. 1999); 20


                                               5
     Case 1:18-md-02865-LAK          Document 361        Filed 06/23/20     Page 9 of 14




Halsbury’s Laws of England § 359 (4th ed. reissued 1993)); Atl. Aviation Corp. v. Costas’

Estate, 332 F. Supp. 1002, 1006 (E.D.N.Y. 1971) (holding that a party accused of negligence

cannot claim indemnification).

       Moreover, the Custody Agreement’s “on demand” language is no reason to

indemnify ED&F’s supposed (and, again, unpleaded) “ever-mounting costs of

responding to SKAT’s discovery requests in this MDL,” particularly since ED&F has

repeatedly insisted—including to this Court during this MDL’s March 5, 2020 status

conference—that discovery in this MDL is duplicative and should follow the timeline of

the English Action. See Opp. at 17.

       Unlike in Lehman Bros., here, the Goldstein Parties have alleged dozens of facts

“suggest[ing] a culpable state of mind consistent with intentional or reckless disregard of

duties,” pleading securities, common-law fraud, and breach of the covenant of good faith

and fair dealing claims that ED&F never even moved to dismiss pursuant to Rule 12(b)(6).

See 602 B.R. at 591. To the extent the Amended Counterclaim is rooted in this MDL, ED&F

has failed to state a claim or plead subject-matter jurisdiction. See, e.g., Too, Inc. v. Kohl’s

Dep’t Stores, Inc., 213 F.R.D. 138, 140 (S.D.N.Y. 2003) (Marrero, J.) (factors relevant to

establishing ripeness of indemnification claim include whether the proposed third-party

complaint states a claim).

   III. ED&F Cannot Pin the English Action on the Goldstein Parties

       A. ED&F is Solely Responsible for Its English Action Liabilities

       ED&F still fails to explain how its losses incurred in the English Action could arise

“in connection with” the Goldstein Plan. See Opp. at 22–23. ED&F does not contest that


                                                 6
     Case 1:18-md-02865-LAK         Document 361       Filed 06/23/20   Page 10 of 14




it faces primary, not vicarious, liability for breaching its own duties to SKAT. Compare

generally Opp. and MTD at 4, 6–7 (citing Further Particulars; Schedule 5T). Yet—again

without authority or analysis—ED&F claims that its Amended Counterclaim survives

because an indemnitor like the Goldstein Plan (a) cannot “establish a de minimis

exemption” to indemnification and (b) should be “held responsible for, at the very least,

its proportionate share of the loss.” Opp. at 23, 23 n.36.

       But a party even just “partially at fault” or “responsible in any degree” cannot seek

indemnification, and therefore there is no such thing as “proportionate indemnification.”

See MTD at 30–33; see also Capita (Banstead 2011) Ltd v. RFIB Grp. Ltd [2015] EWCA Civ

1310 ¶¶ 25–26, 28, 46 (party cannot claim indemnity even if its own wrongful conduct

was only a concurrent cause of alleged loss); Too, Inc., 213 F.R.D. at 143 (indemnification

is “barred altogether where the party seeking indemnification was itself at fault,” even if

“both tortfeasors violated the same duty to the plaintiff.”); Rosado v. Proctor & Schwartz,

Inc., 66 N.Y.2d 21, 23, 25 (1985) (granting motion to dismiss third-party indemnification

claim, noting that “[i]n indemnity the party held legally liable shifts the entire loss to

another. [ . . . ] The statutory bar to contribution may not be circumvented by the simple

expedient of calling the claim indemnification.”).

       As in Rosado, billion-dollar Brokerage ED&F was “in the best position to know

the dangers inherent in its product:” funding and facilitating European securities

transactions for American pension plans. See id. at 26. Allowing ED&F “to shift the

ultimate duty of care to others through boilerplate language in a sales contract would




                                                7
    Case 1:18-md-02865-LAK         Document 361      Filed 06/23/20    Page 11 of 14




erode the economic incentives [broker–dealers] have to maintain safety and give sanction

to the marketing of dangerous, stripped down” services. See id.

       B. Any English Action Indemnification Claim is Unripe

       Furthermore, because the Amended Counterclaim’s “key facts can and will be

established” in the English Action, its “lack of ripeness is palpable.” See Travelers Prop.

Cas. Corp. v. Winterthur Int’l, No. 02 Civ. 2406, 2002 WL 1391920, at *7 (S.D.N.Y. June 25,

2002) (Scheindlin, J.). ED&F essentially “asks this Court to exercise jurisdiction over the

action based on the ostensibly high probability that [it] will prevail in the underlying

suit” in England. See id. (dismissing claim for declaratory judgment of indemnification

liability as unripe where underlying issues were being adjudicated in Kings County

Supreme Court).

       But the “central difference” between ED&F’s pleading and ripe indemnification

counterclaims is that this MDL will not adjudicate ED&F’s “primary liability.” Instead,

the Brokerage’s Amended Counterclaim necessarily depends on an “underlying[,

separate] proceeding in which those contingencies would be resolved:” the English

Action. Compare Opp. at 15–17 (citations omitted) and, e.g., Lafarge Canada Inc. v. Am.

Home Assurance Co., No. 15-CV-8957 (RA), 2018 WL 1634135, at *6 (S.D.N.Y. Mar. 31,

2018) (Abrams, J.) (“Given the contentious and evolving nature of the [underlying]

Canadian litigation, Lafarge’s indemnification controversy is not ripe,” as “[m]any

critical threshold issues are presently unresolved”); Dresser-Rand Co. v. Ingersoll Rand

Co., No. 14 Civ. 7222 KPF, 2015 WL 4254033, at *1 (S.D.N.Y. July 14, 2015) (Failla, J.)

(dismissing indemnification claim contingent on Canadian litigation).


                                              8
    Case 1:18-md-02865-LAK         Document 361       Filed 06/23/20    Page 12 of 14




       ED&F’s refusal to allege or even just argue how its English Action losses could

arise “in connection with” the Goldstein Parties demonstrates exactly why its claim is

unripe. Compare Opp. at 18-19, 23 (arguing that the Goldstein Parties must indemnify

“at the very least, any portion of any adverse judgment in the English Action—or any

costs of defense incurred in the English Action—that may be attributable to the Goldstein

Parties’ transactions,” “should ED&F prevail”) (emphasis added) and, e.g., Certain

Underwriters at Lloyd’s, London v. St. Joe Minerals Corp., 90 F.3d 671, 673, 676 (2d Cir.

1996) (granting 12(b)(1) dismissal where parties seeking indemnification had “produced

little evidence to demonstrate the likely magnitude of [the indemnitor’s] liability,” noting

that “the facts on which the Court’s decision depends have yet to unfold”).

       As in Lafarge, here, critical threshold issues cannot be resolved in this MDL: both

ED&F and the Goldstein Parties deny all liability in their respective litigations, the

English Action has made no factual findings of ED&F’s potential liability, no trial date

has been set in either action, and ED&F “asks the Court to find a duty to indemnify not

only based on its as-yet-undetermined liability, but also based on other fact-intensive

questions such as [ . . . ] how the underlying events will be tabulated” to calculate

damages. 2018 WL 1634135, at *6; accord St. Joe Minerals, 90 F.3d at 674 (indemnification

claim unripe where, inter alia, indemnitor “has viable defenses” and            “there are

numerous other [entities] to share the unestablished remedial costs”). It just is impossible

for this “one lawsuit [to] do the work of two.” See Blais Const. Co., Inc. v. Hanover Square

Assocs., 733 F. Supp. 149, 153 (N.D.N.Y. 1990) (quoting Falls Indus., Inc. v. Consol. Chem.

Indus., Inc., 258 F.2d 277, 283 (5th Cir. 1958)) (analyzing Rule 14 and dismissing third-


                                               9
     Case 1:18-md-02865-LAK         Document 361       Filed 06/23/20    Page 13 of 14




party complaint based on federal statutory law where main complaint based on state

common law).

       Neither the Amended Counterclaim nor ED&F’s Opposition provides “any guide

as to the extent or likelihood of [the Goldstein Parties’] potential liability” in the English

Action, which alleges that ED&F breached its own duties to SKAT and perpetrated a

massive scheme to enrich itself, using pension plans like the Goldstein Plan as mere

patsies. See St. Joe Minerals, 90 F.3d at 673 (noting, inter alia, that indemnitor “was only

one of sixteen suppliers” at issue). ED&F’s speculative wishing cannot establish a ripe

claim for this Court’s adjudication.

                                       CONCLUSION

       ED&F has abandoned all bases of its Amended Counterclaim except the MDL and

English Action, whose allegations of fraudulent, tortious, bad-faith, and other wrongful

conduct fall outside the Contracts’ indemnification obligations. ED&F also fails to muster

any argument that it has stated a claim against Sheldon Goldstein, whom the Amended

Counterclaim does not name once. This Court should dismiss the Amended

Counterclaim with prejudice pursuant to Rule 12(b)(6).

       If and to the extent, however, the Court finds that the Amended Counterclaim

states otherwise-viable claims that are unripe, the Court should dismiss the Amended

Counterclaim without prejudice pursuant to Rule 12(b)(1).




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 Case 1:18-md-02865-LAK     Document 361     Filed 06/23/20   Page 14 of 14




Dated: New York, New York
       June 23, 2020

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                                    11
